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                                               No. 25-3727
                                       __________________________

                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                                    _________________________

                                              NEWSOM, et al.,
                                             Plaintiffs-Appellees,

                                                      v.

                                             TRUMP, et al.,
                                          Defendants-Appellants
                                    _______________________________

                                On Appeal from the United States District Court
                        for the Northern District of California, No. 3:25-cv-04807-CRB
                                    ________________________________

                MOTION FOR LEAVE TO FILE BRIEF OF AMICUS CURIAE BLUE
               EAGLE COALITION IN SUPPORT OF APPELLANTS AND REVERSAL
                            ________________________________

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                        Non-party Blue Eagle Coalition, an unincorporated association (“Amicus”)1,

              is a small, private group of concerned attorneys who, while not necessarily

              agreeing with the President, nevertheless support his position for the reasons stated

              in the proposed amicus brief: (1) when a State-licensed attorney is faced with a

              conflict between State law and Federal law, the attorney should have an obligation

              to favor Federal law under the Supremacy Clause; (2) on the merits, the President

              has the sole discretion to determine whether he needs to call up the National Guard

              and/or use active duty forces to support the Federal government.

                        Under Circuit Rule 29(a)(6), leave is sought to file the brief as a principal

              brief in support of the U.S. government’s position in its emergency motion, within

              the 7 days required under the rule, and alternatively, under Rule 29(a)(7), leave is

              sought to file the brief as a reply brief. The brief is clearly labeled with sections

              regarding the principal brief, as well as the proposed reply, for clarity.

                        Under Circuit Rule 29-3, Amicus sought the consent of all parties to the

              filing of the Brief before moving the Court for permission to file the Brief. As of




              1
               The disclosure statement required under FRAP Rule 29.1 has been
              contemporaneously filed, as well as the filing attorney’s oath of admission to this
              Court, which deems him admitted as of the filing under Circuit Rule 46 and
              guidance issued thereunder by this Court.

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              the filing, neither party had responded to the request,2 although Appellants had

              consented in the District Court to that amicus brief, with Appellees responding that

              they took no position on the request.

                        Consistent with Federal Rule of Appellate Procedure 29(a)(4)(E), Amicus

              certifies that no party or counsel for any party has authored the Brief, participated

              in its drafting, or made any monetary contributions intended to fund preparation or

              submission of the Brief.

                        This Court has “broad discretion” to grant leave for an amicus curiae to

              appear and file a brief. Foothill Church v. Watanabe, 623 F. Supp. 3d 1079, 1084

              Case: 25-3727, 06/16/2025, DktEntry: 22.2, Page 4 of 8 (E.D. Cal. 2022) (citing

              Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982)). “‘An amicus brief should

              normally be allowed’” when “‘[1] the amicus has unique information or

              perspective’” that “‘[2] can help the court beyond the help that the lawyers for the

              parties are able to provide.’” Id. (cleaned up) (citing Cmty. Ass’n for Restoration of

              Env’t (CARE) v. DeRuyter Bros. Dairy, 54 F. Supp. 2d 974, 975 (E.D. Wash.

              1999)). See also Arena v. Intuit Inc., No. 19-CV-02546-CRB, 2020 WL 7342716,

              at *1 (N.D. Cal. Dec. 14, 2020) (Breyer, J.) (granting motion to file an amicus brief



              2
               In fairness, the request was made on the morning of the due date for the reply
              brief, shortly after the filing attorney submitted his Oath for admission to this
              Court.

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              based in part on relevance of amici’s perspective and amici litigating claims that

              overlapped with plaintiffs’ claims); California by & through Becerra v. United

              States Dep’t of the Interior, 381 F. Supp. 3d 1153, 1163-64 (N.D. Cal. 2019)

              (explaining that there are “no strict prerequisites” to qualify as amicus and that

              courts generally have “‘exercised great liberality’ in permitting amicus briefs”)

              (citation omitted).

                        Amicus here has a unique perspective in that it consists of practicing civilian

              attorneys who are faced with conflicts between State and Federal duties in this type

              of case, and this is an important question that implicates all attorneys in the United

              States because attorneys are licensed by the States with Oaths to uphold both State

              and Federal law. Secondarily, if the courts allow State-licensed attorneys to

              undermine Federal law and the U.S. government, when civilian attorneys are not

              allowed to do so, this presents a risk of a double standard and violates the law of

              equal protection. The standard under Rule 29(a)(3)(A) is met; pursuant to Rule

              29(a)(3)(B), the reason why the brief is desirable and relevant is that this Court is

              deciding the scope of an attorney’s duty in a case of this type, which impacts all

              attorneys.

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              Date: June 16, 2025                  ______________________________
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                                                   Attorney for Amicus Curiae Blue Eagle
                                                   Coalition, an unincorporated association




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                                       CERTIFICATE OF COMPLIANCE

                        This motion does not exceed the length limit set by FED. R. APP.

              27(d)(2)(A).

                        This brief’s type size and typeface comply with FED. R. APP. P. 27(d)

              because this brief has been prepared in proportionally spaced typeface using size

              14, Times New Roman font in Microsoft Word.

              Date: June 16, 2025                      ______________________________
                                                       Andrew G. Watters, Esq. (CA #237990)

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                                                       Coalition, an unincorporated association




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